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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 9:13-cv-80385

   SUN LIFE ASSURANCE COMPANY
   OF CANADA (U.S.),

          Plaintiff,
   v.

   IMPERIAL HOLDINGS, INC., et al.,

         Defendants.
   ________________________________________/

                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON
              PLAINTIFF’S SECOND AMENDED CIVIL ACTION COMPLAINT

          Defendants (collectively, “Defendants” or “Imperial”), pursuant to Rule 56 of the Federal
   Rules of Civil Procedure, move for summary judgment on the two remaining counts in Plaintiff
   SUN LIFE ASSURANCE COMPANY OF CANADA (U.S.)’s (“Sun Life[’s]” or “Plaintiff[’s]”)
   Second Amended Civil Action Complaint (the “SAC”).
                                           INTRODUCTION
          Each of the policies at issue (the “Policies”) contains an incontestability clause, as
   required by state law. It is undisputed that the contestability period for each Policy expired prior
   to the filing of this lawsuit. The Eleventh Circuit has ruled that an insurance carrier cannot assert
   any claim based on fraud, including a RICO claim, based on misrepresentations in a life
   insurance application after the expiration of the contestability period. Thus, Sun Life’s fraud and
   RICO claims are barred and, for this reason, Defendants are entitled to summary judgment on the
   SAC as a matter of law.
          Defendants are also entitled to summary judgment for other reasons. First, as concerns
   the fraud claim, the undisputed evidence establishes that Imperial never made, or told anyone to
   make, any misrepresentation on any of the Policy applications and that the Producers1 who made
   the alleged misrepresentations were not agents of Imperial (but were in fact acting for Sun Life).

   1
      Producers refers to the individuals identified in paragraph 6 of Defendants’ Statement of
   Undisputed Material Facts in Support of the Motion for Summary Judgment on Plaintiff’s
   Second Amended Civil Action Complaint (“SUMF”).
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   Moreover, the undisputed evidence demonstrates that the alleged misrepresentations were not
   false and that Sun Life did not justifiably rely on such misrepresentations. Second, with regard
   to the RICO claim, the undisputed evidence shows that there was no pattern of racketeering
   activity and no agreement to commit an illegal act by any alleged members of the purported
   RICO enterprise to commit an illegal act.
           Indeed, Sun Life’s own admissions and the uncontested evidence show that: (1) Imperial
   had no knowledge of the representations made to Sun Life on the applications; (2) Imperial never
   instructed or even encouraged an insured, trustee, or producer to make a misrepresentation in the
   applications; (3) Imperial never had communications with an insured or trustee prior to the
   issuance of the Policies; and (4) Imperial had no knowledge of any communications between the
   Producers and the insureds or trustees. In fact, the insureds and trustees have testified—and it is
   uncontested––that they had not even heard of Imperial before submitting the applications,
   thereby making it impossible for Imperial to have entered into a premium finance agreement
   with them at the time. Significantly, Sun Life itself has admitted that Imperial did not have an
   agreement to premium finance any of the Policies prior to their issuance.
          For the above reasons, Defendants are entitled to summary judgment on the two
   remaining counts in Sun Life’s SAC as a matter of law.
                                          LEGAL STANDARD
          Under Federal Rule of Civil Procedure 56(c), a motion for summary judgment “shall be
   rendered forthwith if the pleadings, depositions, answers to interrogatories, and admissions on
   file, together with the affidavits, if any, show that there is no genuine issue as to any material fact
   and that the moving party is entitled to a judgment as a matter of law.” Additionally, Rule 56(e)
   of the Federal Rules of Civil Procedure provides that “[w]hen a motion for summary judgment is
   made and supported as provided in this rule, an adverse party may not rest upon the mere
   allegations or denials of the adverse party’s pleading, but the adverse party’s response, by
   affidavits or as otherwise provided in the rule, must set forth specific facts showing that there is a
   genuine issue for trial. If the adverse party does not so respond, summary judgment, if
   appropriate, shall be entered against the adverse party.” Fed. R. Civ. P. 56(e). The Supreme
   Court explained the movant’s burden in Celotex Corp. v. Catrett, 477 U.S. 317 (1986) as
   follows:
          In our view, the plain language of Rule 56(c) mandates the entry of summary



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            judgment, after adequate time for discovery and upon motion, against a party who
            fails to make a showing sufficient to establish the existence of an element
            essential to that party’s case, and on which that party will bear the burden of proof
            at trial.

   Id. at 322. The Court further stated that “Rule 56(c) therefore requires a non-moving party to go
   beyond the pleadings and by [its] own affidavits or by the ‘depositions, answers to
   interrogatories, and admissions on file’ designate ‘specific facts showing that there is a genuine
   issue for trial.’” Id.
            Thus, “the mere existence of some alleged factual dispute between the parties will not
   defeat an otherwise properly supported motion for summary judgment; the requirement is that
   there will be no genuine issue of material fact.” Citicorp Vendor Fin., Inc. v. Mavic Med. Ctr.,
   Inc., No. 02-2279-CIV, 2003 WL 26619566, at *3 (S.D. Fla. Sept. 10, 2003) (internal quotations
   omitted). “While the burden on the movant is great, the non-moving party has a duty to present
   affirmative evidence in order to defeat a properly supported motion for summary judgment, and
   “[a] mere ‘scintilla’ of evidence in favor of the non-moving party, or evidence that is ‘merely
   colorable’ or ‘not significantly probative’ is not enough.” Id.
                                              ARGUMENT
   I.       ELEVENTH CIRCUIT PRECEDENT REQUIRES JUDGMENT                                            FOR
            DEFENDANTS ON THE REMAINING COUNTS IN THE SAC.
            The incontestability clause in each Policy bars Sun Life from pursuing the two remaining
   claims (fraud and RICO) in the SAC. See Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043,
   1063 (11th Cir. 2007). As the Eleventh Circuit has noted:
            [I]ncontestability clauses function much like statutes of limitations. While they
            recognize fraud and all other defenses, they provide insurance companies with a
            reasonable time in which to assert such defenses, and disallow them thereafter.
   Id. (emphasis added); see also Allstate Life Ins. Co. v. Miller, 424 F.3d 1113, 1115 (11th Cir.
   2005).
            Contrary to Sun Life’s assertion that Martinez is distinguishable, it is on point. In
   Martinez, seventeen life insurance companies filed an action against a group of viatical
   settlement companies who—as Imperial did here—acquired ownership of certain policies.
   Martinez, 480 F.3d at 1047 (“Martinez II”). In their complaint, the insurers sought to have the
   policies declared void ab initio and also asserted affirmative claims based on, among other



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   things, fraudulent misrepresentations and RICO violations. See id.; see also Am. United Life
   Ins. Co. v. Martinez, Case No. 04-61143 (“Martinez I”), ECF No. 33. The insurers sought
   damages based on the payment of broker commissions; costs of administering the policies; legal
   fees and investigation costs; and payment of death benefits. See Martinez I, ECF No. 33. The
   district court dismissed the insurers’ complaint, and the insurers appealed. In affirming the
   dismissal, the Eleventh Circuit explained that “[i]n each of the cases at issue [], [the]
   contestability period ended years ago.” Martinez, 480 F.3d at 1059. Accordingly, the Court
   concluded that the incontestability clauses barred not only the claim seeking to void the policies,
   but also all of the insurers’ fraud-based affirmative claims seeking damages, explaining that
   “fraud in the procurement of the policy cannot be made a defense subsequent to the date fixed by
   the policy when it shall be deemed incontestable.” Id. at 1061 (internal quotations and citations
   omitted) (holding that incontestability clause “necessarily bars [] fraud-based claims”).
             As in Martinez, (1) Sun Life’s remaining claims are based on alleged fraudulent
   misrepresentations and RICO violations; (2) Sun Life seeks damages based on payment of
   commissions, the costs of administering the policies, legal fees, and the payment of death
   benefits; (3) each Policy contains an incontestability provision;2 and (4) the contestability period
   for each Policy expired before Sun Life filed its action.3 Thus, this Court should conclude that
   the incontestability provision of each Policy bars both of Sun Life’s remaining claims—which
   the Court has already found are based on fraud—as a matter of law.               Consequently, in
   accordance with Martinez, this Court should grant Defendants summary judgment on these
   claims.
             Although Sun Life’s position is far from clear, it has seemingly attempted to distinguish
   Martinez on three different grounds. First, in its Response to Defendants’ Motion to Dismiss the
   SAC, Sun Life made an obtuse argument that the contestability clause does not apply because it
   was not seeking “a voiding of the policies”; rather, according to Sun Life, the policies are
   inherently void ab initio—regardless of any legal ruling this Court might make to the contrary.4
   This metaphysical argument is nonsensical. In any event, it is now inapplicable because this
   Court has precluded Sun Life from putting at issue the validity of the policies based on lack of


   2
       See SUMF ¶ 3.
   3
       See id.
   4
       See Resp. 8.


                                                     4
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   insurable interest.5 Second, at the December 9, 2014 hearing, Sun Life claimed Martinez was
   distinguishable because the “contestable clause was invoked by the owners in [Martinez], that’s
   not what’s going on here.”6 Contrary to Sun Life’s assertion, Defendants are indisputably the
   owners of the Policies.7 Indeed, by confirming and accepting the Change of Ownership forms
   submitted by Imperial, Sun Life has recognized that Imperial is the owner of the Policies.8
   Moreover, paragraph 50 of the SAC specifically alleges that Defendants acquired title to the
   policies. Thus, Sun Life’s attempt to distinguish Martinez on this ground is specious. Finally, to
   the extent Sun Life has argued that the incontestability clause does not apply because it is not
   contesting the validity of the Policies, but is instead asserting affirmative claims and seeking
   monetary damages,9 Martinez squarely rejected this argument. In Martinez, the Eleventh Circuit
   ruled that the incontestability clauses in the policies barred, in addition to the insurers’ void ab
   initio claim, all affirmative fraud-based claims, including separate claims for RICO violations
   seeking monetary damages.10
          Notably, the holding of Martinez on this issue is consistent with decisions from other
   jurisdictions. See, e.g., Hartford Life & Annuity Ins. Co. v. Doris Barnes Family 2008
   Irrevocable Tr., CV 10-7560, 2012 WL 688817 (C.D. Cal. Feb. 3, 2012) aff’d, 552 F. App’x 664
   (9th Cir. 2014). For example, in Hartford Life, the court explained that allowing a plaintiff to

   5
      See Dec. 9, 2014 Order (dismissing Count VII with prejudice).
   6
      See Dec. 9, 2014 Hr’g Tr. attached as Ex. A at 30:13–15.
   7
      See SUMF ¶¶ 93–96.
   8
      See SUMF ¶¶ 96 & Ex. 50.
   9
      See Resp. 8.
   10
      Although the Policies for Sheila Bernstein, James Deberry, Diane Pastore, and Manfred Von
   Nordheim purport to provide a fraud exception, the applicable state statutes for those Policies, do
   not allow for a fraud exception. See Mich. Comp. Laws § 500.4014; Colo. Rev. Stat § 10-7-
   102(1)(b); Cal. Ins. Code § 10113.5; Md. Ins. Code §16-203; see also Hartford Life & Annuity
   Ins. Co. v. Doris Barnes Family 2008 Irrevocable Trust, CV 10-7560 PSG DTBX, 2012 WL
   688817 (C.D. Cal. Feb. 3, 2012) aff’d, 552 F. App’x 664 (9th Cir. 2014) (“Incontestability
   clauses are given broad effect and are strictly enforced . . . even in the face of gross fraud in
   procuring the policy.”); Buckner v. Old Republic Life Ins. Co., No. 262730, 2006 WL 664348, at
   *1 (Mich. Ct. App. Mar. 16, 2006) (incontestability provisions “prevent an insurer from voiding
   the contract for fraud or material misrepresentation after the period for contesting the contract
   has lapsed”); Mut. Life Ins. Co. of New York v. Ins. Com’r for State of Md., 352 Md. 561, 570–
   71, (Ct. App. Md. 1999) (incontestability clause “provides a time limit so that the insurer must
   investigate with reasonable promptness if it wishes to deny liability on the ground of false
   representation or warranty by the insured”). Thus, the insertion of that exception in those
   policies is legally inconsequential.


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   assert fraud and other “affirmative” causes of action based on misrepresentations in procuring a
   life insurance policy would be contrary to the purpose of incontestability provisions. Hartford
   Life, 2012 WL 688817 at *6.         Otherwise, “an insurance company could always avoid an
   incontestability clause by bringing an affirmative claim for fraud, rather than contesting the
   policy itself. This would strip incontestability clauses of almost all meaning.” Id.
          Thus, to the extent Sun Life claims it is not contesting the Policies but is instead raising
   “affirmative” causes of action for damages, the caselaw is clear that those claims are barred by
   incontestability provisions. Sun Life’s creative rhetoric does not diminish the impenetrable
   barrier to pursuing its claims, i.e., that “incontestability clauses are meant to serve as statutes of
   repose for the beneficiaries of policies, and establish a limited period of time for insurers to
   investigate and discover possible fraud by their insureds.” Id. (internal quotations omitted). In
   short, Sun Life “cannot avoid the applicability of this ‘statute of repose’ merely by asserting
   affirmative claims for fraud.” See id.
          Therefore, under Martinez, Defendants are entitled to summary judgment on Sun Life’s
   remaining claims.

   II.    DEFENDANTS ARE ALSO ENTITLED TO SUMMARY JUDGMENT ON
          COUNT III FOR FRAUD BECAUSE THE EVIDENCE DEMONSTRATES
          THERE WAS NO FRAUD COMMITTED BY, OR ATTRIBUTABLE TO,
          DEFENDANTS.
          To succeed on a claim for fraud under Florida law, a plaintiff must establish that (1) the
   defendant made a false statement of material fact; (2) the defendant knew the representation was
   false at the time the representation was made; (3) the defendant intended that the plaintiff rely on
   the false statement; and (4) the plaintiff suffered damages in justifiable reliance on the false
   statement. Yanks v. Barnett, 563 So. 2d 776, 778 (Fla. 3d DCA 1990); Perry v. Cosgrove, 464
   So. 2d 664, 666 (Fla. 2d DCA 1985). While Sun Life claims that Imperial committed fraud, the
   evidence demonstrates (1) that Imperial did not make or induce anyone to make any false
   statements and (2) that there is no agency relationship between Imperial (as principal) and the
   Producers (as its agents). And even if Sun Life could establish an agency relationship, the
   evidence does not satisfy the elements of fraud.
          A.      The evidence shows that there was no agency relationship between the
                  Producers and Imperial.
          In order to establish an agency relationship, Sun Life must prove (1) acknowledgment by



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   the principal that the agent will act on its behalf; (2) the agent’s acceptance of the undertaking;
   and (3) control by the principal over the agent’s actions and day-to-day activities. PYCSA
   Panama, S.A. v. Tensar Earth Tech., Inc., 625 F. Supp. 2d 1198, 1252 (S.D. Fla. 2008); Ocana v.
   Ford Motor Co., 992 So. 2d 319, 326 (Fla. 3d DCA 2008). Here, the uncontested material facts
   show that the Producers were not Imperial’s agents.11
          First, the testimonial and documentary evidence establishes that there was no
   acknowledgment by Imperial that the Producers would act on its behalf and no acceptance by the
   Producers of such an undertaking.12 Indeed, the evidence demonstrates that there was no agency
   agreement between Imperial and the Producers.13 And Sun Life itself acknowledges it has no
   evidence of any such agreement.14 Rather, as the evidence makes clear, Sun Life appointed the
   Producers to act on its behalf; the Producers had contractual agreements with Sun Life accepting
   this undertaking; and the Producers were in fact acting on Sun Life’s behalf when soliciting
   insureds, filling out the applications, and subsequently submitting them to Sun Life.15
          Despite acknowledging the absence of any agreement between Imperial and the
   Producers––and as part of its strained effort to establish an agency relationship between Imperial
   and the Producers––Sun Life relies on unreasonable inferences it draws from email
   communications from Imperial’s Sales Department wherein Imperial’s sales personnel suggest
   that the Producers “move forward” with a particular product or carrier.16 Sun Life argues these
   email communications indicate Imperial’s acknowledgement that the Producers would act on its
   behalf and further argues that the Producers’ subsequent actions establish their acceptance of the
   same.17 But there is nothing about the innocuous statement to “move forward” and the
   Producers’ actions that suggest any desire, agreement, or manifestation of an assent between


   11
      See SUMF ¶¶ 18–23, 27–28. Notably, because the Producers were acting on behalf of Sun
   Life and within the scope of their authority when filling out the applications, any fraud or
   misrepresentations made on the application would be imputed to Sun Life. Cavic v. Grand
   Bahama Dev. Co., 701 F.2d 879, 885 (11th Cir. 1983). Thus, any injuries incurred by Sun Life
   due to the alleged misrepresentations were self-inflicted.
   12
      See SUMF ¶¶ 18–23, 27–28.
   13
      See id.
   14
      See SUMF ¶ 63 (Sun Life has admitted that it does not know if any agreement exists between
   Imperial and any of the Producers).
   15
      See SUMF ¶¶ 4–17, 21, 24–25, 39, 47.
   16
      See, e.g., Resp. 9–11.
   17
      See id.


                                                   7
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   Imperial and the Producers that the Producers would act for Imperial or under Imperial’s
   control.18 See F.T.C. v. Sterling Precious Metals, LLC, No. 12-80597-CIV, 2013 WL 1442180,
   at *5 (S.D. Fla. Apr. 9, 2013) (to establish actual agency, both the principal and agent must
   indicate a desire to create such a relationship); U.S. v. Tianello, 860 F. Supp. 1521, 1524–26
   (M.D. Fla. 1994) (“agreeing to act according to an entity’s rules is not the same as agreeing to
   act under that entity’s control”; would not be reasonable to infer that defendant agreed to act for
   the entity and under the entity’s control); see also W. Sugar Co-op. v. Archer-Daniels-Midland
   Co., CV 11-3473 CBM MANX, 2012 WL 3101659 (C.D. Cal. July 31, 2012) (to establish an
   agency relationship, plaintiff must allege that both the principal and the agent have manifested an
   assent that the principal has the right to control the agent). And, significantly, although Sun
   Life’s claims are premised on alleged misrepresentations made by the Producers on the
   applications, Sun Life has admitted (in responses to interrogatories and during its deposition)
   that it can cite no communications between Imperial’s sales personnel and the Producers in
   which Imperial instructed or even encouraged anyone (including the Producers) to make
   misrepresentations on the applications.19 Furthermore, Sun Life has further conceded that it
   has no evidence that Imperial had anything to do with the Producers’ or the applicants’
   actions during the application process or that Imperial had any knowledge of what was being
   represented to Sun Life in the applications by the applicants and the Producers.20 Thus, it is
   clear that the Producers were never acting on Imperial’s behalf.
             The only contractual relationship that Imperial did have with the Producers is well-
   documented by the “Fee Agreement” for each particular loan reached long after––as shown
   below––each life insurance application had been submitted and long after Sun Life had
   decided—without any involvement by Imperial––to issue each Policy.21


                                                                          Date of Fee Agreement
                                     Sun Life App.
                 Insured                                                   between Imperial and
                                         Date
                                                         Issue Date             Producer
        Berner, Sandra             12/3/09              12/15/09       1/13/10
        Bernstein, Sheila          12/2/09              1/19/10        2/16/10

   18
         See SUMF ¶ 78.
   19
         See SUMF ¶ 28.
   20
         See SUMF ¶¶ 28–29, 31.
   21
         See SUMF ¶ 70 & Ex. 44.


                                                   8
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                                                                          Date of Fee Agreement
                                      Sun Life App.
                  Insured                                                  between Imperial and
                                          Date
                                                         Issue Date             Producer
        Blakeslee, Evelyn           7/30/09             9/24/09        1/8/10
        Blitshtein, Polya           11/10/09            1/25/10        3/4/10
        DeBerry, James              2/1/10              4/29/10        5/25/10
        DeGraw, Terry               7/16/08             7/25/08        11/13/08
        Dickler, Dale               10/27/09            12/4/09        12/23/09
        Fuhrman, June               7/2/09              8/19/09        9/30/09
        Geller, Elizabeth           7/28/10             8/10/10        2/18/11
        Good, Robert                11/25/09            12/8/09        1/26/10
        Granby, Gary                11/24/09            12/29/09       1/28/10
        Klein, Esta                 11/6/09             1/28/10        2/16/11
        Korn, Joan                  8/25/09             10/30/09       11/12/09
        Miller, Helene              12/31/09            1/29/10        8/23/10
        Mitchel, Evelyn             11/4/09             12/28/09       2/25/10
        Parnes, Hannah              11/17/09            12/8/09        1/15/10
        Pastore, Diane              7/28/08             9/9/08         12/9/08
        Solk, Donna                 12/11/09            1/19/10        2/11/10
        Spohn, Ronald               12/10/09            12/31/09       1/28/10
        Victor, George              11/10/09            12/4/09        1/27/2010
        Von Nordheim, Manfred       6/23/08             6/27/08        11/21/08
        Wasser, Martin              9/21/09             10/8/09        1/14/10

   In stark contrast to Sun Life’s Sales Agreements with its Producers (discussed below), Imperial’s
   Fee Agreements specifically disclaim any agency relationship with the Producers. Specifically,
   the Agreements all state as follows:
            This Agreement relates solely to the procurement of premium financing of the
            above Policy and shall not create, or be construed as creating, a principal-agent,
            employer-employee or master-servant relationship between the Agent and
            [Imperial]22
   See Commodity Futures Trading Com'n v. Gibraltar Monetary Corp., Inc., 575 F.3d 1180, 1189
   (11th Cir. 2009) (noting that while express disclaimers of agency do not necessarily eliminate the
   existence of an agency relationship, if a party makes the effort to avoid an agency designation by
   including specific language to that effect in an agreement, such language is “palpable evidence
   that [the party] did not intend to consent or acquiesce to an agency relationship”). In addition,
   Imperial’s public filings with the SEC, including its S-1 statements, make clear that Imperial had

   22
        See id.


                                                    9
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   no control over the Producers, a fact that posed a risk to Imperial’s business and was therefore
   disclosed under the section of the public filing titled “Risk Factors.”23
          In contrast, Sun Life’s Sales Agreements with each of the Producers memorialized the
   Producers’ authority to act on behalf of Sun Life in soliciting and submitting applications for
   Sun Life products.24 And Sun Life acknowledges that these agreements establish the conditions
   under which the Producers could solicit applications on Sun Life’s behalf. Sun Life also filed
   appointments with the Offices of Insurance Regulation in various states again acknowledging
   the Producers’ authority to act on its behalf.25 Notably, the Florida OIR appointing form DFS-
   H2-501 requires carriers, including Sun Life, to certify that: “the appointing entity [Sun Life] is
   willing to be bound by the acts of the person being appointed [the Producers]. . . . ”26
   Importantly, Sun Life has admitted that part of the Producers’ duties to Sun Life was to fill out
   the applications, and to clarify any misunderstandings the insureds or trustees had when
   answering the application questions. And Sun Life has acknowledged that the Producers are
   acting as “representatives of [Sun Life] during the application process.”27 Thus, the Producers
   were contractually required to act for—and on behalf of—Sun Life at the time they were filling
   out the applications for Policies and discussing the same with the insureds and trustees.28 In
   sum, it was Sun Life––and not Imperial––that was effectively present at the time the
   applications were being filled out by its own Producers.


   23
      The S-1 states in pertinent part:
          We rely primarily upon agents and brokers to refer potential premium finance customers
          to us. These relationships are essential to our operations and we must maintain these
          relationships to be successful. We do not have fixed contractual arrangements with the
          referring agents and brokers and they are free to do business with our competitors. Our
          ability to build and maintain relationships with our agents and brokers depends upon the
          amount of agency fees we charge and the value we bring to our clients . . .The loss of our
          top referring agents and brokers could have a material adverse effect on our business,
          financial condition and results of operation.
   See Excerpt of S-1 relating to “Risk Factors,” attached as Ex. B.
   24
      See SUMF ¶¶ 6–8. In relevant part, the Sales Agreements appoint the Producers to “solicit[]
   applications for approved products of [Sun Life]” and recognizes that the Producers will perform
   “business activities . . . on behalf of . . . [Sun Life].” See SUMF ¶¶ 7–8.
   25
       See SUMF ¶ 5 & Ex. 6 at 6 (noting producers must be appointed by Sun Life in the states in
   which they offer products for sale).
   26
      See SUMF ¶ 5 & Ex. 7.
   27
      See SUMF ¶ 15.
   28
      See SUMF ¶ 25.


                                                    10
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           With regard to the third element of agency, it is undisputed that Imperial had no control
   over the Producers’ day-to-day activities.29 The evidence further shows that Imperial had no
   right to control the Producers and that Imperial in fact had no knowledge of the Producers’
   activities.30
           By contrast, Sun life did have the right to control the Producers’ activities.31      For
   example, in the agreements between Sun Life and its Producers, Sun Life requires compliance
   with its guidelines and procedures, and Sun Life has admitted that these requirements were in
   place to ensure Sun Life’s control over how they conducted business on behalf of Sun Life.32
   Specifically, the agreements state as follows:
           Section 5.6 Compliance. The Sales Representative agrees to conduct business
           under this Agreement in compliance with all applicable written procedures, rules,
           and regulations the Company has or may establish to govern the conduct of its
           business, including the Company’s Code of Business Conduct and its Field
           Compliance Manual.33

   Moreover, Sun Life’s Market Conduct guide sets forth specific guidelines that its Producers were
   required to follow, including requiring their marketing material to be approved by Sun Life.34 It
   also required its Producers to keep written files containing, among other things, all fact-finding
   data, analyses and other information for each customer that establishes the basis for the amount
   and the type of product sold.35 Thus, unlike Imperial, Sun Life had control over the Producers’
   activities relating to the soliciting and submission of life insurance business.
           In short, Defendants are entitled to summary judgment on Count III because there is no
   agency relationship between Defendants and the Producers.36




   29
      See SUMF ¶¶ 18–22, 26–27.
   30
       See id. The key to an agency relationship is the principal’s right to control the day-to-day
   operations of the agent, including the time, manner, and method of the daily activities. See Cain
   v. Shell Oil Co., 994 F. Supp. 2d 1251, 1254 (N.D. Fla. 2014); Brooks v. Collis Foods, Inc., 365
   F. Supp. 2d 1342, 1350 (N.D. Ga. 2005).
   31
      See, e.g., SUMF ¶¶ 8–9.
   32
      See SUMF ¶¶ 8–9, 11.
   33
      See SUMF ¶8.
   34
      See SUMF ¶ 9 & Ex. 6 at 7–8.
   35
       Id. Ex. 6 at 13.
   36
       Importantly, to succeed on Count III in its entirety, Sun Life would have to prove an agency
   relationship with each of the Imperial Defendants, which it has failed to do.


                                                    11
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          B.      There were no misrepresentations on the applications and Sun Life did not
                  justifiably rely on any alleged misrepresentations.
          In the SAC, Sun Life identifies three purported misrepresentations in support of its fraud
   claim that relate to: (1) premium finance; (2) the Payor of the premiums; and (3) the Producer’s
   commission. The evidence demonstrates, however, that the answers at issue on the applications
   were not inaccurate, they were not material to Sun Life, and Sun Life could not have justifiably
   relied on any of the so-called misrepresentations. Thus, Defendants are entitled to summary
   judgment on Count III. See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986) (summary
   judgment for defendant must be granted where plaintiff “fails to make a showing sufficient to
   establish the existence of an element essential to [the plaintiff’s] case”; there can be no genuine
   issue of material fact because a complete failure of proof on an essential element of a claim
   “renders all other facts immaterial”).
                  1.      Premium Finance Question
              No Misrepresentation
          Sun Life’s life insurance application asks the following question:37 “Will the premium for
   this policy be financed through single or multiple loan(s) from a private or public lender now or
   in the future?”38 In the SAC, Sun Life claims a “No” answer to this question is false because,
   according to Sun Life, Imperial had already agreed to provide premium financing for the Policies
   before the applications were submitted. Sun Life is wrong for several reasons.
          First, the question is directed to the applicant/policyowner and Sun Life has never alleged
   that the applicant/policyowner made any misrepresentations.39 The evidence shows that, at the
   time the applications were submitted, the applicants/policyowners did not know about Imperial
   and had not had any communications with Imperial, let alone a premium finance agreement with

   37
       See SUMF ¶ 3, Ex. 4 Section D to Application.
   38
       At the December 9, 2014 hearing on Defendants’ Motion to Dismiss the SAC, counsel for
   Sun Life mischaracterized the premium finance question on the application, suggesting that it
   asked whether an insured or policy owner had “contemplated” premium financing. See Ex. A at
   35:1–9 (“Mr. Gosselin: It’s possible that something will happen that will make the deal fall apart,
   but certainly premium financing is absolutely contemplated. And at that point, when the question
   asks do you intend to use premium financing now or in the future, the producer has to answer
   that question correctly and they didn’t.”). The text of the question makes clear, however, that it
   is asking whether there will be premium financing for that policy. There is no option to select
   “Maybe.” Thus, mere contemplation of premium financing would not render a “No” answer
   false.
   39
      See SUMF ¶ 3, Ex. 4, Section D to Application.


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   Imperial.40 It also shows that before a policy was issued, Imperial communicated only with the
   Producers, who approached Imperial to inquire about the potential for a premium finance loan,
   and Sun Life has admitted it has no evidence of any commitment by Imperial to make a premium
   finance loan prior to any of the Policies being placed in force.41
            Second, the only Imperial employees who communicated with the Producers prior to the
   time the application was submitted were individuals in Imperial’s Sales Department––i.e.,
   account executives and their assistants.42 And the undisputed evidence indicates that none of
   these individuals had authority to make a commitment on Imperial’s behalf to provide premium
   financing.43    Moreover, the Producers understood that they had no such authority.44
   Accordingly, it was impossible for Imperial to have entered into an agreement to premium
   finance prior to the issuance of a policy. See Cowan v. Travelers Ins. Co., 131 F.2d 410, 411
   (5th Cir. 1942) (holding that where the evidence demonstrates that an individual has no authority
   to bind a company, the company is entitled to judgment as a matter of law on any claim based on
   an agreement entered into by that individual).
            Third, the communications between the Sales Department and the Producers merely
   identify potential deals that Imperial would be willing to consider evaluating.45 Specifically, the
   email communications stating that a potential deal “looks viable” or “should work” do not
   commit Imperial to fund that deal and do not commit the applicant/policyowner to borrow any
   money.46 Nor are any loan terms established in such communications. They simply indicate the
   Sales Department’s preliminary assessment that a particular deal has potential.47           As the
   indications of interest specifically state:

             [T]his indication of interest is not a binding commitment to provide financing
            and Imperial makes no commitment hereby. Actual financing will only be
            provided following formal application and approval, execution of required loan
            documents and all related ancillary documents and satisfactory completion of any


   40
        See SUMF ¶¶ 64, 73–74.
   41
        See SUMF ¶ 82.
   42
        See SUMF ¶¶ 73–80.
   43
        See SUMF ¶ 80.
   44
        See id.
   45
        See SUMF ¶¶ 73, 77–78.
   46
        See SUMF ¶ 78
   47
        See id.


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           required closing due diligence.48
           Fourth, fatal to the allegations in the SAC are Sun Life’s admissions in discovery that (1)
   Imperial did not enter into a loan until a Policy was issued,49 and (2) it has no evidence of any
   agreement, much less an agreement to premium finance, between Imperial and the Producers, let
   alone the policyowners.50
           Fifth, the evidence establishes that Imperial could not agree to finance a loan at the time
   of the application because multiple levels of diligence took place before a potential deal could be
   approved and multiple individuals and entities––both within Imperial and externally––had to
   approve every premium finance deal before an agreement could be executed.51 Specifically,
   within Imperial, each potential deal was analyzed by the Pricing, Compliance, Legal, and
   Funding Departments, as well as Management, and had to be approved by all of those
   departments in order for Imperial to make to a loan.52 Additionally, each potential loan had to be
   approved by an external insurer––AIG (the LPIC provider)––after its review of pricing and other
   documents, and AIG declined to approve numerous deals for a variety of reasons (many of which
   were not even communicated to Imperial).53 Importantly, any potential loan could be disqualified
   by any of these departments or entities, and many were.54 In fact, the undisputed evidence shows
   that Imperial received 211 issued Sun Life policies from external Producers seeking financing,
   but only 63 survived the diligence and approval process.55 Moreover, at any point in the process,
   the borrower (the Trust) could decide (for any reason) that it did not wish to enter into the loan
   agreement.56
           Accordingly, the undisputed evidence shows that at the time the representations were
   made on the application (the relevant time for a claim of fraud), the insured and Imperial had not
   entered into a premium finance agreement, and the “No” answer on the application was not an




   48
        See SUMF ¶ 78 & Ex. 46.
   49
        See SUMF ¶ 64.
   50
        See SUMF ¶ 63
   51
        See SUMF ¶¶ 73–91.
   52
        See id.
   53
        See SUMF ¶¶ 82–83, 87–88.
   54
        See SUMF ¶¶ 79, 89.
   55
        See SUMF ¶ 91.
   56
        See SUMF ¶ 80.


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   inaccurate statement.57 William Penn Life Ins. Co. v. Sands, 912 F.2d 1359, 1364–65 (11th Cir.
   1990) (explaining that representations in an application are “neither misstatements nor
   misrepresentations” if answered to the best of the applicant’s knowledge and belief when made).
             No Justifiable Reliance
          In any event, the evidence indicates that Sun Life did not justifiably rely on this answer.
   To show justifiable reliance to support a fraud claim, a plaintiff must “prove that it exercised due
   care to discover the fraud.” TSG Water Resources, Inc. v. D’Alba & Donovan Certified Public
   Accountants, P.C., 260 F. App’x 191, 200 (11th Cir. 2007). “The fundamental principle on this
   issue is that misrepresentations are not actionable unless the complaining party was justified in
   relying thereon in the exercise of common prudence and diligence.” Id. (internal quotations
   omitted). Here, as demonstrated by the evidence, Sun Life did not verify the accuracy of the
   premium finance representation.58 It did not contact the insured or trustee, either prior to or after
   submission of the application to inquire about any agreements to premium finance the Policy.59
   Nor did Sun Life contact its own Producer to inquire about the same.60 Moreover, Sun Life did
   not request any additional documentation to verify the financial information on the applications,
   such as net worth and income.61 Sun Life’s failure to take any of these actions precludes it as a
   matter of law from justifiably relying on the allegedly false answer to the question in the
   application about premium financing. See PHL Variable Life Ins. Co. v. Jolly, 800 F. Supp. 2d
   1205, 1210–15 (N.D. Ga. 2011), aff’d 460 F. App’x 899 (11th Cir. 2012) (no justifiable reliance
   where an insurer never tried to contact insured, never spoke to trustee, did not attempt to verify
   the insured’s net worth of income, and did not take any steps to determine if documents
   submitted were genuine).
          Sun Life’s failure to conduct basic diligence is especially egregious because Sun Life had
   previous suspicions about some of the Producers. As early as 2007, Sun Life became concerned
   about misrepresentations on applications concerning premium finance.62 For example, Sun Life

   57
      See SUMF ¶ 67 (Sun Life’s former VP of Underwriting agreed that if an individual does not
   know if he is going to premium finance a policy at the time he fills out the application, the
   correct answer would be “No”).
   58
      See SUMF ¶¶ 44–46, 49–51.
   59
      See SUMF ¶¶ 51, 58.
   60
      See SUMF ¶¶ 51.
   61
      See SUMF ¶¶ 38, 42–44.
   62
      See SUMF ¶¶ 40–41.


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   issued the Policies on the lives of Sheila Bernstein and Donna Solk, which were submitted by
   Producer Todd Bernstein, after Sun Life was made aware that Bernstein had previously offered
   to pay another insured’s premiums.63 Because Sun Life still failed to exercise due care,64 the
   alleged misrepresentation relating to premium financing of the Policies is not actionable as a
   matter of law.
                    2.   Payor of Premiums
             No Misrepresentation
          Sun Life’s life insurance application also contains a question that states: “If payor is
   Insured or Owner check here.”65        Sun Life claims that the affirmative responses in the
   applications were false because, according to Sun Life’s position when filing this lawsuit,
   Imperial had already agreed to provide premium financing for the Policies when the applications
   were being submitted. As explained above, however, the undisputed evidence demonstrates that
   the payor statement is accurate because at the time it was made, Imperial had not even
   communicated with the insureds or trustees,66 had not agreed to make a premium finance loan,67
   and was in no way involved with the payment of initial premiums.68 Indeed, as the chart below
   illustrates, all of the initial premium payments were made by the insured or the Trust. Thus, the
   statements on the applications that the payors were the owners (i.e. Trusts) were accurate.69
               Insured                      Payor of Initial Premium Payment to Sun Life
   Berner, Sandra                  Check from Melvin/Sandra Berner for $22,149.00
   Bernstein, Sheila               Check from personal account of Sheila Bernstein for $40,530
   Blakeslee, Evelyn               Wire funds transfer Blakeslee Irrevocable Trust for $37,000
   Blitshtein, Polya               Check from Polya Blitshtein Family Trust for $33,702.50
   DeBerry, James                  Wire from DeBerry Irr. Ins Trust for $43,275.
   DeGraw, Terry                   Wire from Terry Degraw Family Trust for $72,285
   Dickler, Dale                   Check from Dale Dickler for $140,340

   63
      See SUMF ¶ 57.
   64
       See SUMF ¶¶ 57–58 (Sun Life failed to make any effort to determine whether Bernstein had
   also offered to pay for premiums on Policies for Bernstein and Solk, the insureds and trustees on
   these Policies confirmed they were not contacted by Sun Life).
   65
       See SUMF ¶ 3, Ex. 4 Section F to Application.
   66
      See SUMF ¶¶ 20, 22, 29, 66, 74.
   67
      See SUMF ¶¶ 64, 73–91.
   68
      See SUMF ¶¶ 47.
   69
      While Sun Life did not verify the source of the funds, the undisputed evidence is that Imperial
   was not involved in any way with the initial premium payments and was not aware of the source
   of the funds at the time they were made. See SUMF ¶ 47.


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   Fuhrman, June                    Check from Benham and June Fuhrman for $60,000
   Geller, Elizabeth                Check from Elizabeth Geller for $97,700
   Good, Robert                     Wire from Robert Good for $138,480
   Granby, Gary                     Check from Gary Granby for $138,480
   Klein, Esta                      Check from Esta Klein for $43,820.
   Korn, Joan                       Check from JK Personal Residence Trust for $18,000.
   Miller, Helene                   Wire from Helene Miller for $38,342.50
   Mitchel, Evelyn                  Check from Evelyn Mitchel for $63,986
   Parnes, Hannah                   Wire transfer from Trust for $16,406.67
   Pastore, Diane                   Wire from Diane Pastore to Sun Life for $45,025
   Solk, Donna                      Check from Donna Solk to Sun Life for $123,050
   Spohn, Ronald                    Wire from Ronald Spohn for $107,610.
   Talansky, Kalman                 Check from Morris Talansky for $64,400.
   Victor, George                   Check from George Victor for $41,700
   Von Nordheim, Manfred            Check from Manfred Von Nordheim for $14,879.52
   Wasser, Martin                   Wire from Martin Wasser for $173,100


               No Justifiable Reliance
           Moreover, Sun Life did not justifiably rely on the payor response in the application.
   Indeed, Sun Life has admitted that, when it received the first premium payment, it did not do
   anything to verify the source of those funds.70 See TSG Water, 260 F. App’x at 200 (plaintiff
   must have exercised due care to discover the alleged fraud). Thus, for this reason too, Sun Life’s
   argument relating to this question is unavailing as a matter of law.
           3.      Producers’ Commissions
               No Misrepresentation and No Materiality
           Sun Life also argues that the Producers, because they paid a fee to Imperial as part of the
   loan transaction, made misrepresentations in the instructions to the applications when they stated
   that they would be receiving 100% of the commissions for selling the Policies. Yet, the evidence
   establishes that the Producers’ representations were accurate at the time they were made because,
   among other things, there was no way a Producer could have known whether the policy would
   survive Imperial’s diligence process, whether a loan would be approved and funded, and thus
   whether the Producer would pay a fee to Imperial.71 In any event, this was not material to Sun
   Life. Charging a fee to a Producer to make a premium finance transaction is customary in the



   70
        See SUMF ¶ 48.
   71
        See SUMF ¶¶ 78–80.


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   industry.72 In fact, other premium finance entities promoted by or that worked closely with Sun
   Life charged fees that were based on the Producers’ commissions.73 Thus, not only were the
   Producers’ statements not false when made, whether or not a premium finance company charged
   them a fee to make a loan was not a material fact to Sun Life.
           Accordingly, Sun Life cannot maintain a fraud claim based on these alleged
   misrepresentations as a matter of law.
   III.    DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON SUN LIFE’S
           RICO CLAIM.
           Sun Life’s RICO claims are equally deficient. To assert a civil RICO claim, a plaintiff
   must allege: “(1) a violation of section 1962; (2) injury to business or property; and (3) that the
   violation caused the injury.” Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991). Here, Sun
   Life seeks to assert RICO violations under sections 1962(a) and 1962(c). Section 1962(c) makes
   it unlawful “to conduct or participate, directly or indirectly, in the conduct of [an] enterprise [that
   affects interstate commerce] through a pattern of racketeering activity.” Rep. of Panama v. BCCI
   Holdings (Luxembourg) S.A., 119 F.3d 935, 948-949 (11th Cir. 1997). To state a claim under
   section 1962(c), a plaintiff must allege: “(1) the existence of an enterprise; (2) that the enterprise
   affected interstate commerce; (3) that the defendants were employed by or associated with the
   enterprise; (4) that the defendants participated . . . in the conduct of the affairs of the enterprise;
   and (5) that the defendants participated through a pattern of racketeering activity.” U.S. v.
   Starrett, 55 F.3d 1525, 1541 (11th Cir. 1995) (footnote call number omitted); U.S. v. Lynch, 287
   F. App’x. 66, 68 (11th Cir. 2008). In turn, section 1962(a) states that:
           it shall be unlawful for any person who has received any income derived, directly
           or indirectly, from a pattern of racketeering activity or through collection of an
           unlawful debt in which such person has participated as a principal within the
           meaning of section 2, title 18, United States Code, to use or invest, directly or
           indirectly, any part of such income, or the proceeds of such income, in acquisition
           of any interest in, or the establishment or operation of, any enterprise which is
           engaged in, or the activities which affect, interstate or foreign commerce.

   18 U.S.C. § 1962(a). This section prohibits the investment or improper use of money obtained
   from racketeering activity. See Super Vision Int’l, Inc. v. Mega Int'l Commercial Bank Co., Ltd.,
   534 F. Supp. 2d 1326, 1340 (S.D. Fla. 2008).


   72
        See SUMF ¶¶ 70–71
   73
        See id.


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            As discussed below, the evidence does not support the elements of a RICO claim under
   section 1962(a) or section 1962(c).
            A.     The evidence indicates that Imperial did not participate in the conduct of an
                   enterprise through a pattern of racketeering activity.
            The fifth element of a 1962(c) RICO claim requires a plaintiff to allege that the
   defendants participated in the enterprise through a pattern of racketeering activity. Likewise,
   section 1962(a) requires a plaintiff to allege the investment or improper use of money obtained
   from any racketeering activity. See 18 U.S.C. § 1962(a). Thus, claims under either of those
   sections require a plaintiff to allege sufficient facts to support a pattern of racketeering activity.
   “Racketeering activity” is defined as the violation of any of the criminal statutes listed in section
   1961(1). See 18 U.S.C. § 1961(1). To establish a “pattern of racketeering activity,” a plaintiff
   must prove “at least two acts of racketeering activity” within a ten-year period, 18 U.S.C.
   § 1961(5), and must have evidence sufficient to support each of the statutory elements for those
   two predicate acts. Rep. of Panama, 119 F.3d at 949. Here, Sun Life only alleges that Imperial
   committed wire and mail fraud in violation of 18 U.S.C. §§ 1341 and 1343. SAC ¶ 360. But the
   evidence indicates that Imperial did not participate in any wire or mail fraud.
            Both mail and wire fraud require that a person “(1) intentionally participate[] in a scheme
   or artifice to defraud another of money or property, and (2) use[] or ‘cause[]’ the use of the mails
   or wires for the purpose of executing the scheme or artifice.” United States v. Ward, 486 F.3d
   1212, 1221 (11th Cir. 2007). In turn, “[a] scheme to defraud requires proof of a material
   misrepresentation, or the omission or concealment of a material fact calculated to deceive
   another out of money or property.” United States v. Maxwell, 579 F.3d 1282, 1299-1300 (11th
   Cir. 2009).
            As explained in Section II above, Imperial did not commit fraud. Although Sun Life
   identifies certain allegedly false statements made on the applications by Producers, those
   statements are not attributable to Imperial because, as explained, the Producers were not acting
   on behalf of, or in concert with, Imperial.74 See Section II, supra.         In fact, Sun Life has
   admitted that it has no evidence of Imperial encouraging anyone, including the Producers, to
   make misrepresentations on the applications.75 Moreover, the evidence does not support any of


   74
        See SUMF ¶¶ 18–23, 27-28.
   75
        See SUMF ¶ 28.


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   the elements of fraud for any of the representations. See Section II.B. supra.; see Celotex Corp.
   v. Catrett, 477 U.S. at 322–23 (plaintiff has burden of proof to prove the essential elements of its
   claims). Accordingly, Sun Life’s RICO claim fails as a matter of law.
            Additionally, Imperial did not direct the affairs of any enterprise, as required by the
   fourth element of a section 1962(c) RICO claim. To establish this element, Sun Life must
   demonstrate that Imperial “participate[d] in the operation or management of the enterprise
   itself.” Williams v. Mohawk Ind., Inc., 465 F.3d 1277, 1285 (11th Cir. 2006). “In order to
   ‘participate . . . in the conduct of such enterprise’s affairs,’ one must have some part in directing
   those affairs.” Reves v. Ernst & Young, 507 U.S. 170, 179 (1993). Here, Sun Life claims that
   the enterprise was “organized, managed, controlled, operated and conducted by Imperial,” but
   the evidence contradicts that. See SAC ¶ 357. Specifically, the evidence establishes that
   Imperial had no knowledge of what statements were being made on the applications and that
   Imperial did not instruct or encourage anyone to make misrepresentations.76 Therefore, it is
   impossible for Imperial to have “organized, managed, controlled, operated [or] conducted” the
   alleged enterprise to commit fraud.       The evidence also establishes that the other alleged
   participants in the enterprise were not controlled or managed by Imperial. See Section II.A.,
   supra.    In fact, Sun Life itself has acknowledged––in both interrogatory responses and
   deposition testimony––that there is no evidence that anyone at Imperial instructed or
   encouraged anyone to make a misrepresentation on an application.77
            B.     Sun Life cannot establish the existence of an enterprise.
            Sun Life’s RICO claims also fail because there is no evidence of an illegal enterprise.
   RICO defines an “enterprise” to include “any individual, partnership, corporation association or
   other legal entity, and any union or group of individuals associated in fact although not a legal
   entity.” 18 U.S.C. § 1961(4). To prove a RICO claim under either section 1962(a) or section
   1962(c), the plaintiff must establish some agreement between the members of the enterprise to
   commit the predicate acts. U.S. v. Valera, 845 F.2d 923, 929–30 (11th Cir. 1988). In its SAC,
   Sun Life alleges only that there was an association-in-fact between Imperial and the other
   members of the alleged enterprise––including the Producers, the insureds, the trustees, the Bank
   of Utah, and the Family Insurance Trust––despite failing to specify how each member was

   76
        See SUMF ¶¶ 27–28, 30.
   77
        See SUMF ¶ 28.


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   associated with Imperial or the enterprise. However, “[a]ssociation, alone, with the enterprise is,
   of course, insufficient for violation of RICO.” Valera, 845 F.2d at 929–30. Instead, “an
   individual must agree to participate in the affairs of the enterprise.” Id. (emphasis in original).
          The undisputed evidence establishes that there was no agreement, explicit or otherwise,
   among the various members of the purported enterprise to participate in any enterprise, let alone
   an illegal enterprise.78 Indeed, the evidence establishes that there were no communications
   between Imperial and any insured, trustee, the Bank of Utah, or the Family Insurance Trust prior
   to the submission of the applications that would evidence an agreement.79 And, as discussed, the
   communications between Imperial and the Producers establish that there was no agency
   relationship80 and that Imperial’s sole goal was to identify those applications for premium
   finance loans it might entertain.81 See Section II, supra. To state the obvious, and as Sun Life
   acknowledges, premium financing is entirely legal.82         Thus, Sun Life cannot establish the
   existence of illegal enterprise.
          Defendants are entitled to summary judgment on the RICO claim as a matter of law.
                                             CONCLUSION
          At bottom, Imperial is part of this lawsuit simply because some of its sales personnel
   communicated with Producers prior to the Policies being issued. However, there is nothing
   inappropriate about these communications, and per Sun Life’s own sworn admissions, no one at
   Imperial directed or even encouraged anyone (including the Producers) to make a
   misrepresentation. Thus, if a misrepresentation was made, Imperial had nothing to do with it.
   Because Imperial did not commit a single unlawful act, this lawsuit should never have been filed.
          On the other hand, while for years Sun Life was keenly aware of “problems” with the
   Producers––and thus had every opportunity to avoid doing business with them––Sun Life
   preferred to continue receiving revenues from these Producers rather than terminating them.
   Indeed, Sun Life continued accepting and encouraging the Producers’ business, and even
   rewarded them for the same. Thus, the injuries that Sun Life claims to have suffered are all self-



   78
      See SUMF ¶¶ 27–31, 63.
   79
      See SUMF ¶¶ 27–31 & Ex. 12.
   80
      See SUMF ¶¶ 18–23, 27–28.
   81
      See SUMF ¶¶ 72, 77–78.
   82
      See SUMF ¶¶ 71–72.


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   inflicted and not traceable to any actions by Imperial.83
          For the foregoing reasons, Defendants are entitled to summary judgment on the two
   claims remaining in Sun Life’s Second Amended Complaint as a matter of law.

   Dated: December 23, 2014                                    Respectfully submitted,

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   83
        It is undisputed, and the Court should not overlook, that Sun Life failed to disclose to the
   public—including the Policy applicants and Defendants—that Sun Life always intended to
   contest the Policies after expiration of the contestability period for reasons other than those stated
   in the Policies. Thus, Sun Life is the one party that made a material misrepresentation in this
   case—motivated by its desire to gain premiums.


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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 23rd day of December, 2014, a true and correct copy

   of this Motion was served by using the CM/ECF system which will send a notice of electronic

   filing to all counsel or parties of record on the Service List below.



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